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                        IN T H E UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT W O R T H DIVISION

J O E L A L O N S O AND M A R I A A L O N S O ,     §
                                                    §
        Plaintiffs,                                 §
                                                    §
v.                                                  §           C I V I L A C T I O N NO.
                                                    §
A L L S T A T E TEXAS LLOYD'S,                      §
                                                    §
        Defendant.                                  §



                          DEFENDANT ALLSTATE TEXAS LLOYD'S
                                NOTICE OF REMOVAL



T O T H E H O N O R A B L E COURT:

        Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Allstate Texas Lloyd's i n Cause No.

153-276847-15, pending i n the 153rd Judicial District Court o f Tarrant County, Texas, files this

Notice o f Removal f r o m that court to the United States District Court for the Northern District o f

Texas, Fort Worth Division, on the basis of diversity o f citizenship and amount i n controversy and

respectfully shows:

                                            I.
                                   FACTUAL BACKGROUND

           1.1   On or about February 10, 2015, Plaintiffs filed Plaintiffs' Original Petition i n the

matter styled Joel Alonso    and Maria Alonso     v. Allstate    Texas Lloyd's,   Cause N o . 153-276847-

15, pending i n the 153rd Judicial District Court o f Tarrant County, Texas, i n which Plaintiffs made

a claim for damages to their home under a homeowner's insurance policy w i t h Allstate Texas

Lloyd's.




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            1.2   Plaintiffs served Defendant Allstate Texas Lloyd's ("Allstate") with Plaintiffs'

Original Petition and process on February 17, 2015, by certified mail through its registered

agent, C T Corporation System.

            1.3   Simultaneously with the filing o f this notice o f removal, attached hereto as Exhibit

" A " is the Index o f State Court Documents that clearly identifies each document and indicates

the date the document was filed i n state court. Attached as Exhibit " B " is a copy o f the docket

sheet and all documents filed i n the state court action are attached as Exhibits " B - l " through

Exhibit " B - 4 " as identified on the Index o f Documents.

                                                     II.
                                        BASIS F O R R E M O V A L


        2.1       Defendant files this notice o f removal within 30 days o f receiving Plaintiffs'

Original Petition. See 28 U.S.C. § 1446(b). This Notice o f Removal is being filed w i t h i n one

year o f the commencement o f this action. See id.

        2.2       Removal is proper       based upon diversity o f citizenship under 28          U.S.C.

§§ 1332(a)(1), 1441(a), and 1446.

        A.        T H E PROPER P A R T I E S A R E O F D W E R S E CITIZENSHIP.


        2.3       Plaintiffs are, and were at the time the lawsuit was filed, residents o f the State o f

Texas. See Plaintiffs' Original Petition, § I I . On information and belief, Plaintiffs intend to


continue residing i n Texas and are thus domiciled i n Texas. See Hollinger        v. Home State    Mut.

Ins. Co., 654 F.3d 564, 571 (5th Cir. 2011) (evidence o f a person's place o f residence is prima

facie proof o f his state o f domicile, which presumptively continues unless rebutted w i t h

sufficient evidence o f change).

        2.4       Defendant Allstate Texas Lloyd's was, and at the date o f this Notice, remains, an

association o f underwriters whose individual underwriters are all residents and citizens o f the

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State o f Illinois and N e w Jersey.          "The United States Supreme Court has consistently held for

over one hundred years that the citizenship o f an unincorporated association [such as Allstate] is

determined . . . solely by the citizenship o f its members." See Massey                       v. State Farm Lloyds         Ins.

Co., 993 F. Supp. 568, 570 (S.D. Tex. 1998); see also Gore v. Stenson,                           616 F. Supp. 895, 898-

899 (S.D. Tex. 1984) (recognizing years o f Supreme Court precedent reaffirming the treatment

                                                                                 2
o f unincorporated associations for jurisdictional purposes).                        The individual underwriters o f

Allstate Texas Lloyd's and their citizenship are as follows: 1). Donald J. Bailey - N e w Jersey;

2). Teresa J. Dalenta - Illinois; 3). Kimberley M . Bartos - Illinois; 4). W i l l i a m G. H i l l - Illinois;

5). James W . Jonske - Illinois; 6). Katherine A . Mabe - Illinois; 7). Laurie Pellouchoud -

Illinois; 8). Richard J. Smith, Jr. - Illinois; 9). M y r o n E. Stouffer - Illinois; and 10.) Steven C.

Verney - Illinois. Accordingly, Allstate Texas Lloyd's is a citizen o f the States o f Illinois and

New Jersey. Allstate Texas Lloyd's is not a citizen o f the State o f Texas.

        B.        T H E A M O U N T IN C O N T R O V E R S Y E X C E E D S T H E J U R I S D I C T I O N A L
                 REQUIREMENTS FOR S U B J E C T M A T T E R JURISDICTION.


        2.5      I n determining the amount i n controversy, the court may consider "policy limits...

penalties, statutory damages, and punitive damages."                           St. Paul      Reinsurance       Co., Ltd.     v.

Greenberg,    134 F.3d 1250, 1253 (5th Cir. 1998); see Ray v. State Farm Lloyds, No. CIV.A.3:98-

CV-1288-G, 1999 W L 151667, at * 2-3 (N.D. Tex. Mar. 10, 1999) (finding a sufficient amount

i n controversy i n p l a i n t i f f s case against their insurance company for breach o f contract, fraud,

negligence, gross negligence, bad faith, violations o f the Texas Insurance Code, violations o f the

Texas Deceptive Trade Practices Act, and mental anguish); Fairmont                            Travel, Inc. v. George        S.



1
  See Royal Ins. Co. v. Quinn-L Capital Corp., 3 F.3d 877, 882-884 (5th Cir. 1993), cert, denied, 522 U.S. 815
(1997); see also Massey v. State Farm Lloyds Ins. Co., 993 F. Supp. 568, 570 (S.D. Tex. 1998).
2
  "Fifth Circuit jurisprudence is equally clear." See Massey, 993 F. Supp. at 570 (citing International Paper Co. v.
Denkmann Assoc., 116F.3d 134, 137 (5th Cir. 1997)).

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May Int'l      Co., 75 F. Supp.2d 666, 668 (S.D. Tex. 1999) (considering D T P A claims and the

potential for recovery o f punitive damages for the amount i n controversy determination); Chittick

v. Farmers     Ins. Exck,     844 F. Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient amount i n

controversy after considering the nature o f the claims, the types o f damages sought and the

presumed net worth o f the defendant i n a claim brought by the insureds against their insurance

company for actual and punitive damages arising f r o m a claim they made for roof damages).

         2.6       This is a civil action i n which the amount i n controversy exceeds $75,000.00.

Plaintiffs allege that Defendant is liable under a residential insurance policy because Plaintiffs

made a claim under that policy and Defendant wrongfully adjusted and denied Plaintiffs' claim.

Plaintiffs have specifically pled that they are seeking monetary relief o f $100,000. See Plaintiffs'

Original Petition, § V I I I .

         2.7      I n addition, Plaintiffs seek damages f o r violations o f the Texas Insurance Code,

Texas Deceptive Trade Practices Act and breach o f the duty o f good faith and fair dealing.

Plaintiffs specifically seek to recover mental anguish, attorney's fees and penalties, including

additional and exemplary damages provided by statute as well as the 18% penalty provided

under Texas Insurance Code. As such, Plaintiffs' alleged damages greatly exceed $75,000.00.

                                                   III.
                        T H E R E M O V A L IS P R O C E D U R A L L Y C O R R E C T

        3.1       Defendant Allstate was served w i t h Plaintiffs' Original Petition and process on

February 17, 2015.          This notice o f removal is filed within the 30-day time period required by 28

U.S.C. § 1446(b).

        3.2       Venue is proper i n this District and Division under 28 U.S.C. §1446(a) because

this District and Division include the county i n which the state action has been pending and




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because a substantial part o f the events giving rise to Plaintiffs' claims allegedly occurred i n this

District and Division.

        3.3      Pursuant to 28 U.S.C. § 1446(a), all pleadings, process, orders, and all other filings

i n the state court action are attached to this Notice.

        3.4      Pursuant to 28 U.S.C. § 1446(d), promptly after Defendant files this Notice,

written notice o f the filing w i l l be given to Plaintiffs, the adverse party.

        3.5     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy o f this Notice o f Removal

w i l l be f i l e d w i t h the Clerk o f the Tarrant County District Court, promptly after Defendant files

this Notice.

                                                 IV.
                                             CONCLUSION

        4.1     Based upon the foregoing, the exhibits submitted i n support o f this Removal and

other documents filed contemporaneously with this Notice o f Removal and f u l l y incorporated

herein by reference, Defendant Allstate Texas Lloyd's hereby removes this case to this Court for

trial and determination.

                                              Respectfully submitted,

                                                /s/ Roger D. Higgins
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                                 CERTIFICATE OF SERVICE

       This is to certify that on March 19, 2015, a copy o f this document was mailed to all Counsel
of Record via electronic notice and/or certified mail, return receipt requested to:

               Manuel A . Cardenas
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                                            Is/ Roger D. Higgins
                                              Roger D . Higgins




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